     Case 1:18-cr-00199-DAD-BAM Document 29 Filed 10/25/18 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIN SNIDER, Bar #304781
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorney for Defendant
     JESSIEL FELIX-RAMIREZ
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                     Case No. 1:18-cr-00199-DAD-BAM
12                      Plaintiff,                  REQUEST FOR RULE 43 WAIVER OF
                                                    APPEARANCE; ORDER
13    vs.
14    JESSIEL FELIX-RAMIREZ,
15                      Defendant.
16
17           Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Jessiel Felix-Ramirez, having
18   been advised of his right to be present at all stages of the proceedings, hereby requests that this
19   Court permit him to waive his right to personally appear at all non-substantive proceedings. Mr.
20   Felix-Ramirez agrees that his interests shall be represented at all times by the presence of his
21   attorney, the Office of the Federal Defender for the Eastern District of California, the same as if
22   he were personally present, and requests that this Court allow his attorney-in-fact to represent his
23   interests at all times.
24   ///
25   ///
26   ///
27   ///
28   ///
     Case 1:18-cr-00199-DAD-BAM Document 29 Filed 10/25/18 Page 2 of 2


 1                                                     Respectfully submitted,
 2
                                                       HEATHER E. WILLIAMS
 3                                                     Federal Defender
 4   Date: October 24, 2018                            /s/ Erin Snider
                                                       ERIN SNIDER
 5                                                     Assistant Federal Defender
                                                       Attorney for Defendant
 6                                                     JESSIEL FELIX-RAMIREZ
 7
 8                                                  ORDER
 9           Defendant’s request for a waiver of appearance is granted. Pursuant to Rule 43(b)(3),
10   defendant’s appearance is waived at all non-substantive pretrial proceedings until further order of
11   the Court.
12
13
     IT IS SO ORDERED.
14
15       Dated:     October 25, 2018                              /s/ Barbara A. McAuliffe           _
                                                              UNITED STATES MAGISTRATE JUDGE
16
17
18
19
20
21
22
23
24
25
26
27

28

     Felix-Ramirez Request for Rule 43 Waiver of Appearance
                                                          2
